Case 1:19-cv-07346-AJN-KNG ou HEP ponued 11/18/19 Page 1 of 2

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CYRUS R. VANCE, JR.

DISTRICT ATTORNEY

 

 

November 15, 2019

 

 

BY ECF

Honorable Alison J. Nathan [aaa ae
United States District Judge | USDo SDNY

Southern District of New York DOCU MENT A

40 Foley Square HE my

New York, New York 10007

 

 

 

Honorable Kevin Nathaniel Fox
United States Magistrate Judge
Southern District of New York
40 Foley Square

New York, New York 10007

 

 

 

 

Re: Heleen Mees v. City of New York, et al. 19 Civ. 7346 (AJN)(KNF)
Dear Judge Nathan & Judge Fox:

Iam an Assistant District Attorney at the New York County District Attorney’s
Office and counsel for the DA defendants in the above-captioned matter. I write on
behalf of all parties—plainuff pro se Heleen Mees, the DA defendants, and the co-
defendant City of New York—to respectfully ask that the Court narrow the scope of
the confidentiality order that was entered on September 5, 2019 to cover only the
“photographic evidentiary matertal” that was the subject of plainuff’s letter requesting
confidential treatment of said photos. ECF 13 [Pl]. Ltr]; ECF 15 [Unsealing and
confidentiality order].

This case atises from plaintiffs prosecution on harassment charges based on
allegations lodged by her former boyfriend, Willem Buiter, that plaintiff had sent him
nude photos. ECF 1 [Complaint] at 913-14, 25. On August 26, 2019, the DA’s Office
wrote to Judge Nathan requesting additional time to respond to the complaint and
further requesting that Judge Nathan endorse an enclosed unsealing order that would
permit the DA’s Office to access the police, prosecution, Criminal Court, and
Department of Corrections files. ECF 8. On September 5, 2019, a letter from plaintiff
was posted to ECP wherein plaintiff stated that she had no objection to the unsealing
order but requested that the photos be deemed confidential. ECF 13. The DA’s Office
and the City agree with plaintiff that the photos should not be publicized.
 

Case 1:19-cv-07346-AJN-KNF Document 20 Filed 11/18/19 Page 2 of 2

Also on September 5, 2019, Judge Fox endorsed the unsealing order submitted
by the DA’s Office with modifications. Among the modifications, Judge Fox ordered
that records obtained via the unsealing order “shall be deemed confidential and the
parties shall safeguard them from public dissemination.” ECF 15 at 2. The order thus
appears to render confidential the police, prosecution, Criminal Court, and Department
of Corrections files in their entirety.

Yesterday, defendants filed a joint motion to dismiss. As supporting exhibits,
defendants relied on documents that appear in the prosecution file and were filed in
Criminal Court.! Defendants served the motion papers on plaintiff by mail, see ECF
18, but have not filed the papers on ECF due to the confidentiality order. Defendants
have also provided plaintiff with copies of the motion papers by email, and the patties
have conferred over email about the scope of the confidentiality order.

Plaintiff has authorized me to inform the Court that she did not intend to
request that records other than the photos be kept on a confidential basis. Defendants
agree that only the photos themselves should be kept from public dissemination.
Accordingly, the parties jointly request that the September 5, 2019 order be modified
to deem confidential only “photographic evidentiary material” that may appear in the
records that are unsealed by virtue of the order.

If the Coutt is inclined to grant this request, defendants will proceed to file their
motion papers on ECF. Otherwise, defendants respectfully request permission to file

the supporting exhibits under seal.

The parties thank the Court for its consideration of this letter.

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1 The exhibits do not include the photos.
